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             UNJTED ST ATES DISTRICT COURT
             SOUTHERN DISTRICT OF NEW YORK                                         DA TE FILED:~        /17/ I½
                 C/\FEX COMMUNICATIONS, INC.,
                                                                         Case No. 1:17-cv-01349-VM
                                                    Plaintiff,

                    V.                                                   STIPULATION OF VOLUNTARY
                                                                         DISMISSAL
                 AMAZON WEB SERVICES, INC.,

                                                    Defendant.
             .   ·---·---------------'
                     Pursuant   to   Federal          Rule   of Civil    Procedure     4 l(a)(l )(A)(ii),   Plaintiff CafeX

             Commt1nications, Inc. ("CafeX"), and Defendant Amazon Web Services, Inc., ("Amazon")

             jointly stipulate to the dismissal of CafeX's claims with prejudice and dismissal of Amazon's

             counterclaims with prejudice. Each party            will bear its own costs and attorneys' fees. The parries

             request that the court reserve jurisdiction to enforce the terms of the parties' Confidential

             Settlement Agreement.




             Datcu:April 13,2018




             AKERMAN LLP                                                SUSMAN GODFREY L.L.P.


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             Aflumeyfbr f'faint!/TCafeX Communications,                 Auorney for Defenda111 Amazon Web Services,
             Enc.                                                       Inc.



SO ORDERED. The Clerk of Court is directed to terminate
any pcnd::1 ~ motions in this action and to close this case.

SO ORDERED.                     .
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      Date
